                       Case 4:99-cr-00133-JRH-CLR Document 792 Filed 11/02/15 Page 1 of 1
AO 247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                                  Page 1 of 2 (Page 2 Not for Public Disclosure)




                                                               UNITED STATES DISTRICT COURT                          U.S. DISTRICT COURT
                                                                            for the                                                DIV.
                                                                  Southern District of Georgia                      2015 Nov
                                                                      Savannah Division                                             -2 PH 14:52
                       United States of America                                                                 CLER
                                                                                        )


                                         V.                                             )
                                                                                                                            .   tJIST.Q GA.
                                                                                           Case No: 4:99-CR-00133-1
                             Eric Bernard Hicks                                         )



                                                                                        ) USMNo: 37623-060
Date of Original Judgment:         October 25, 2000                                     ) Lloyd D. Murray
Date of Previous Amended Judgment: N/A                                                  ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of Dthe defendant                            fl
                                                  the Director of the Bureau of Prisons        the court under 18 U.S.C.
§ 3582(c)(2) for a reduction  in the term of imprisonment  imposed   based  on a guideline  sentencing  range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3 553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.          F1
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
             issued) of        months is reduced to


                                                    (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated October 25, 2000,                              shall remain in effect.
 IT IS SO ORDERED.

 Order Date:             /b<
                                           41
                                                                                                                Judge's signa


                                                                                             William T. Moore, Jr.
                                                                                             Judge, U.S. District Court
 Effective Date:                                                                             Southern District of Georgia
                           'if different from order date)                                                     Printed name and title
